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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA
v.
ISREAL EASTERDAY,

Defendant.

CRIMINAL NO. 22-CR-404 (JEB)

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating or Picketing in
a Capitol Building)

SUPERSEDING INDICTMENT

The Grand Jury charges that:
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COUNT ONE
On or about January 6, 2021, within the District of Columbia, ISREAL EASTERDAY,
committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer lawfully engaged in the lawful performance of his/her official duties incident
to and during the commission of a civil disorder which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article and commodity in commerce
and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Sections 231(a)(3) and 2)

COUNT TWO

On or about January 6, 2021, within the District of Columbia, ISREAL EASTERDAY,
using a deadly and dangerous weapon, that is, a chemical irritant, did forcibly assault, resist,
oppose, impede, intimidate, and interfere with, and inflict bodily injury on, an officer and
employee of the United States, and of any branch of the United States Government (including any
member of the uniformed services), that is, Officer J.P. of the United States Capitol Police, while
such officer or employee was engaged in or on account of the performance of official duties, and
where the acts in violation of this section involve physica! contact with the victim and the intent
to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b) and 2)

COUNT THREE

On or about January 6, 2021, within the District of Columbia, ISREAL EASTERDAY,
using a deadly and dangerous weapon, that is, a chemical irritant, did forcibly assault, resist,
oppose, impede, intimidate, and interfere with, and inflict bodily injury on, certain officers and

employees of the United States, and of any branch of the United States Government (including
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any member of the uniformed services), including Officer M.A. of the United States Capitol Police
and others, while such officer or officers or employee or employees were engaged in or on account
of the performance of official duties, and where the acts in violation of this section involve physical
contact with the victim or victims and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b) and 2)

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, ISREAL EASTERDAY
did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-
off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so, and, during
and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a chemical
irritant.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and
(b)(1)(A) and 2)

COUNT FIVE ©

On or about January 6, 2021, in the District of Columbia, ISREAL EASTERDAY did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions, and, during and in relation to the offense,

did use and carry a deadly and dangerous weapon, that is, a chemical irritant.

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(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(2) and (b)(1)(A) and 2)

COUNT SIX

On or about January 6, 2021, in the District of Columbia, ISREAL EASTERDAY did
knowingly engage in any act of physical violence against any person and property in a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was and would be temporarily
visiting, and, during and in relation to the offense, did use and carry a deadly and dangerous
weapon, that is, a chemical irritant.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

(b)(1)(A) and 2)

COUNT SEVEN

On or about January 6, 2021, in the District of Columbia, ISREAL EASTERDAY
willfully and knowingly engaged in disorderly and disruptive conduct within the United States
Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House
of Congress,

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
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COUNT EIGHT

On or about January 6, 2021, in the District of Columbia, ISREAL EASTERDAY
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,

United States Code, Section 5104(e)(2)(F))

COUNT NINE

On or about January 6, 2021, in the District of Columbia, ISREAL EASTERDAY
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

Vi Le yaws > Ofori e
Attorney of the United these no
and for the District of Columbia.
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA : CRIMINAL NO. 22-CR-404 (JEB)

v. : VIOLATIONS:
: 18U.8.C. § 231(a)(3)
ISREAL EASTERDAY, : (Civil Disorder)
: 180U.S.C. §§ 111(a)(1) and (b)
Defendant. :  (Assaulting, Resisting, or Impeding

: Certain Officers Using a Dangerous
Weapon)
18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)
18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)
18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence ina |
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Deadly or Dangerous Weapon)
40 U.S.C. § 5104(e)(2)(D)
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a Capitol Building)
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(Act of Physical Violence in the Capitol
Grounds or Buildings)
40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating or Picketing in
a Capitol Building)

SUPERSEDING INDICTMENT

The Grand Jury charges that:
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COUNT ONE
On or about January 6, 2021, within the District of Columbia, ISREAL EASTERDAY,
committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer lawfully engaged in the lawful performance of his/her official duties incident
to and during the commission of a civil disorder which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article and commodity in commerce
and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Sections 231(a)(3) and 2)

COUNT TWO

On or about January 6, 2021, within the District of Columbia, ISREAL EASTERDAY,
using a deadly and dangerous weapon, that is, a chemical irritant, did forcibly assault, resist,
oppose, impede, intimidate, and interfere with, and inflict bodily injury on, an officer and
employee of the United States, and of any branch of the United States Government (including any
member of the uniformed services), that is, Officer J.P. of the United States Capitol Police, while
such officer or employee was engaged in or on account of the performance of official duties, and
where the acts in violation of this section involve physical contact with the victim and the intent
to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b) and 2)

COUNT THREE

On or about January 6, 2021, within the District of Columbia, ISREAL EASTERDAY,
using a deadly and dangerous weapon, that is, a chemical irritant, did forcibly assault, resist,
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employees of the United States, and of any branch of the United States Government (including

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any member of the uniformed services), including Officer M.A. of the United States Capitol Police
and others, while such officer or officers or employee or employees were engaged in or on account
of the performance of official duties, and where the acts in violation of this section involve physical
contact with the victim or victims and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b) and 2)

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off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so, and, during
and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a chemical
irritant.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and
(b)(1)(A) and 2)

COUNT FIVE

On or about January 6, 2021, in the District of Columbia, ISREAL EASTERDAY did
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official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
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conduct of Government business and official functions, and, during and in relation to the offense,

did use and carry a deadly and dangerous weapon, that is, a chemical irritant.

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(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section

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On or about January 6, 2021, in the District of Columbia, ISREAL EASTERDAY did
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United States Capitol and its grounds, where the Vice President was and would be temporarily
visiting, and, during and in relation to the offense, did use and carry a deadly and dangerous
weapon, that is, a chemical irritant.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and

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On or about January 6, 2021, in the District of Columbia, ISREAL EASTERDAY
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the orderly conduct ofa session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House
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Section 5104(e)(2)(D))
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(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United’ States in
and for the District of Columbia.
